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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:10-cr-20-03

v.                                                     Honorable Robert Holmes Bell

JOSHUA CARL HARRISON,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 23, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JOSHUA CARL HARRISON entered a plea of guilty to Count 1of the

Indictment, charging defendant with Conspiracy to Distribute and Possess With Intent to Distribute

Marijuana, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B)(vii), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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                I therefore recommend that defendant’s plea of guilty to Count 1of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. I further recommend that detention be continued

pending sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the

plea agreement, determination of defendant’s status pending sentencing, and imposition of sentence

are specifically reserved for the district judge.



                                                /s/ Timothy P. Greeley
                                                TIMOTHY P. GREELEY
                                                UNITED STATES MAGISTRATE JUDGE

Dated: August 23, 2010



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
See W.D. MICH . L.CR.R. 11.1(d).




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